 Case 1:20-cv-01169-RJJ-SJB ECF No. 6, PageID.142 Filed 01/22/21 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


DAR LEAF, et al.,

               Plaintiffs,
                                                              CASE NO. 1:20-CV-1169
v.
                                                              HON. ROBERT J. JONKER
GRETCHEN WHITMER, et al.,

            Defendants.
__________________________________/

                                  ORDER TO SHOW CAUSE

         On December 7, 2020, Plaintiffs filed a document entitled “Plaintiff’s Amended

Emergency Exparte Application for Restraining Order and Injunctive Relief and Combined Brief

in Support.” (ECF No. 3). The Clerk docketed the motion in a new civil action. The same day

the Court denied the motion. The Court observed that it was not clear whether Plaintiffs had even

commenced a lawsuit as contemplated by FED. R. CIV. P. 3 but that to the extent they had, the

motion fell far short of demonstrating a basis for ex parte relief under FED. R. CIV. P. 65(b). (ECF

No. 5). Since that time, no further action in this matter has taken place. Plaintiffs have not filed a

Complaint, nor have they sought the issuance of summons. On this record, the matter is subject

to dismissal for failure to prosecute. Plaintiffs are directed to show cause not later than Friday,

February 5, 2021, why this matter should not be dismissed for failure to prosecute as required by

the rules and orders of this Court.

         IT IS SO ORDERED.



Dated:      January 22, 2021                   /s/ Robert J. Jonker
                                               ROBERT J. JONKER
                                               CHIEF UNITED STATES DISTRICT JUDGE
